           Case 1:17-cr-00040-DAD-BAM Document 34 Filed 10/05/17 Page 1 of 5

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 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                          CASE NO. 1:17-CR-00040-DAD-BAM
11
                                  Plaintiff,
12                                                      STIPULATION REGARDING DISCLOSURE
                            v.                          OF SENSITIVE MATERIAL
13
     RICHARD JACK ORMOND
14   LESLIE HOOD
     SHARRON AYCOCK,
15
                                 Defendant.
16

17
            Plaintiff United States of America, by and through its counsel of record, the United States
18
     Attorney for the Eastern District of California, and defendants RICHARD JACK ORMOND, LESLIE
19
     HOOD and SHARRON AYCOCK (“defendants”), by and through their counsel of record, Pete Jones,
20
     John F. Garland, and Scott Quinlan, respectively, hereby file this Stipulation Regarding Disclosure of
21

22 Sensitive Materials and Personal Identification Information.

23          1.      The government possesses, or may come to possess, recordings, documents, reports, or

24 other materials the disclosure of which may ordinarily be required by the government’s Rule 16, Jencks

25 Act, Brady or other discovery obligations, but the dissemination of which could pose a serious risk to

26 certain defendants, witnesses, or the confidentiality of an ongoing investigation (the “Sensitive
27 Materials”).

28          2.      The government will mark all Sensitive Materials with the following stamp or


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 1 inscription: “ATTORNEYS EYES ONLY”

 2          3.      If the government distributes any document, compact disk, or other material bearing the

 3 above label, defense counsel and defendants agree to the following as to such material:

 4                  a.     Defense counsel shall not distribute Sensitive Materials to anyone other than his

 5 own legal staff (including paralegal assistants, legal secretaries, defense investigators, and lawyer-

 6 associates);

 7                  b.     Defense counsel shall not allow anyone other than himself, or his legal staff to

 8 possess, or maintain possession of, any Sensitive Materials;

 9                  c.     Defense counsel shall not disclose Sensitive Materials to Defendants.

10                  d.     Defense counsel may not disclose the contents of any Sensitive Materials

11 publicly, including in any court filing, without first conferring with government counsel and, in any

12 event, shall file any Sensitive Materials under seal.

13          4.      The parties agree to confer before filing any motions regarding the government's

14 disclosure (or lack of disclosure) of Sensitive Materials.

15          5.      Accordingly, the parties respectfully request that the Court adopt, and agree to be bound

16 by, the corresponding protective order.

17          6.      By signing this stipulation, the parties agree to be bound by the above terms, and those of

18 the accompanying proposed order, before and after the Court executes and enters that order.

19          7.      By signing this stipulation, counsel for defendant represents that he has discussed the

20 contents of this stipulation and proposed order with defendant, and that defendant has no objection to

21 this stipulation and the relief requested in the proposed order.

22

23 Dated: October 4, 2017                                      PHILLIP A. TALBERT
                                                               United States Attorney
24

25                                                   By: /s/ VINCENZA RABENN
                                                         VINCENZA RABENN
26                                                       Assistant United States Attorney
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 4 Dated: __ 10/4/17   ___                  ___/s/ John F. Garland   ________
                                            JOHN F. GARLAND
 5                                          Attorney for Defendant

 6

 7

 8 Dated: __ 10/4/17   ___                  _____/s/ Scott Quinlan     ________
                                            SCOTT QUINLAN
 9                                          Attorney for Defendant

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11

12 Dated: __ 10/4/17   ___                  ___ /s/ Pete Jones           ________
                                            PETE JONES
13                                          Attorney for Defendant

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           Case 1:17-cr-00040-DAD-BAM Document 34 Filed 10/05/17 Page 4 of 5

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 7 United States of America

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:17-CR-00040-DAD-BAM

12                                 Plaintiff,
                                                         ORDER REGARDING
13                          v.                           GOVERNMENT'S DISCLOSURE OF SENSITIVE
                                                         MATERIALS
14   RICHARD JACK ORMOND
     LESLIE HOOD
15   SHARRON AYCOCK,

16                                Defendant.

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18
            The Court has received and considered the jointly-filed Stipulation Regarding Disclosure of
19
     Sensitive Materials and Personal Identifying Information between Plaintiff United States of America, by
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     and through its counsel of record, the United States Attorney for the Eastern District of California, and
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     defendants RICHARD JACK ORMOND, LESLIE HOOD, and SHARRON AYCOCK by and through
22

23 their counsel of record, Pete Jones, John F. Garland, and Scott Quinlan, respectively.

24          Good cause showing, IT IS HEREBY ORDERED THAT:

25          1.      The government will identify the discovery materials in this case the disclosure of which

26 could jeopardize the safety of witnesses or other persons or affect the confidentiality of ongoing
27 investigations (the “Sensitive Materials”).

28          2.      The government will mark all Sensitive Materials with the following stamp or


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           Case 1:17-cr-00040-DAD-BAM Document 34 Filed 10/05/17 Page 5 of 5

 1 inscription: “ATTORNEYS EYES ONLY”

 2          3.      If the government distributes any document, compact disk, or other material bearing the

 3 above label, defense counsel and defendant agree to the following as to such material:

 4                  a.     Defense counsel shall not distribute Sensitive Materials to anyone other than his

 5 own legal staff (including paralegal assistants, legal secretaries, defense investigators, and lawyer-

 6 associates);

 7                  b.     Defense counsel shall not allow anyone other than himself and his legal staff to

 8 possess, or maintain possession of, any Sensitive Materials;

 9                  c.     Defendant shall not have access to the sensitive materials;

10                  d.     Defense counsel may not disclose the contents of any Sensitive Materials

11 publicly, including in any court filing, without first meeting and conferring with government counsel,

12 and, in any event, shall file any Sensitive Materials under seal.

13          4.      The parties must confer before filing any motions regarding the government's disclosure

14 (or lack of disclosure) of Sensitive Materials.

15          5.      At the conclusion of this matter, defense counsel will collect and destroy any and all

16 copies of documents and portions thereof marked as “Attorneys Eyes Only” that defense counsel

17 possesses and/or has made and distributed to their agents, except a copy set as necessary to maintain in

18 defense counsel’s case file.

19
     IT IS SO ORDERED.
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21      Dated:     October 4, 2017                            /s/ Barbara A. McAuliffe              _
                                                       UNITED STATES MAGISTRATE JUDGE
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